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 6
     Attorneys for the
 7   United States of America
 8
                          IN THE UNITED STATES DISTRICT COURT
 9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                )   CASE NO. 1:11-CR-00275 LJO
                                               )
12                         Plaintiff,          )
                                               )   STIPULATION TO CONTINUE
13    v.                                       )   SENTENCING HEARING;
                                               )   ORDER THEREON
14                                             )
      YADWINDER SINGH,                         )   Date: December 10, 2012
15                                             )   Time: 8:30 a.m.
                           Defendant.          )   Dept: Hon. Lawrence J. O’Neill
16                                             )
                                               )
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           IT IS HEREBY STIPULATED by and between the parties hereto, and
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     through their respective attorneys of record herein, that the
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     sentencing hearing in the above-referenced action now scheduled
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     for November 19, 2012, at 8:30 a.m. is continued to December 10,
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     2012, at 8:30 a.m.
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           The continuance of the sentencing hearing is being requested by
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     the Government to facilitate the filing and consideration of its
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     informal objections and, if applicable, formal objections to the Pre-
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     Sentence Investigation Report (“PSR”) according to the deadlines set

     Stipulation to Continue Sentencing Hearing;
     [Proposed] Order Thereon
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 1   by Local Rule.      The current sentencing hearing is scheduled for
 2   November 19, 2012.       However, the PSR was sent to the parties by the
 3   Probation Office on October 31, 2012.          A new sentencing date of
 4   December 10, 2012 would afford the parties the full Local Rule time
 5   period for submitting informal objections to the PSR and, if
 6   necessary, formal objections to the Court.           The undersigned Assistant
 7   United States Attorney has communicated with defense counsel and he
 8   has no objection to continuing the sentencing hearing to December 10,
 9   2012 at 8:30 a.m.
10
11
12   Dated: November 6, 2012                    /s/Eric H. Schweitzer
                                                ERIC H. SCHWEITZER
13                                              Attorney for Defendant
                                                YADWINDER SINGH
14
15
     Dated: November 6, 2012                    BENJAMIN B. WAGNER
16                                              United States Attorney
17
                                           By: /s/Henry Z. Carbajal III
18                                             HENRY Z. CARBAJAL III
                                               Assistant U.S. Attorney
19
20   IT IS SO ORDERED.
21   Dated:    November 7, 2012              /s/ Lawrence J. O'Neill
     b9ed48                              UNITED STATES DISTRICT JUDGE
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     Stipulation to Continue Sentencing Hearing;
     [Proposed] Order Thereon                 2
